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                                CERTIFICATE OF SERVICE

       I, Christopher P. Simon, hereby certify that on October 31, 2023, a true and correct copy

of the foregoing Lead Plaintiff’s Supplemental Limited Objection and Reservation of Rights to the

Debtors’ Modified Amended Disclosure Statement and Solicitation Motion was served upon all

interested parties via CM/ECF and the attached service list by electronic mail:




                                             /s/ Christopher P. Simon
                                             Christopher P. Simon (No. 3697)
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